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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                         §
 UNITED STATES OF AMERICA                                §
                                                         §
 v.                                                      §           Case No. 4:22-cr-00612
                                                         §
 MITCHELL HENNESSEY,                                     §
                                                         §
        Defendant.                                       §

                                     [PROPOSED] ORDER

        Having considered Defendant Mitchell Hennessey’s Joinder of Motion to Exclude

Extraneous Episodes, and construing the same as a separate motion, the Court ORDERS the

following:

         ORDERED/DENIED: that the government’s trial presentation of evidence shall be

         limited to the 19 securities fraud counts in the superseding indictment.




        Signed at Houston, Texas this ___ day of ________________, 2023.




                                              ___________________________________
                                              THE HONORABLE ANDREW HANEN
                                              UNITED STATES DISTRICT JUDGE
